        Case 1:11-cr-00037-JD   Document 25   Filed 05/06/11   Page 1 of 1


                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal N o . 11-cr-37-03-JD

Tiffany Mailhot


                                  O R D E R


      The assented to motion to reschedule jury trial (document n o .

24) filed by defendant Mailhot is ruled on as follows: Granted, no

further continuances. Trial is continued as to defendant Mailhot,

as well as her co-defendants who were all in agreement to the

continuance, to the two-week period beginning August 1 6 , 2011, 9:30

AM.

      Defendant Mailhot shall file a waiver of speedy trial rights

within 10 days. The court finds that the ends of justice served by

granting a continuance outweigh the best interest of the public and

the defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for

the reasons set forth in the motion.

      SO ORDERED.



                                          /s/ Joseph A. DiClerico, Jr.
                                          Joseph A . DiClerico, Jr.
                                          United States District Judge

Date:    May 6, 2011

cc:   Bruce Kenna, Esq.
      Jonathan Saxe, Esq.
      Charles Keefe, Esq.
      Theodore Lothstein, Esq.
      Debra Walsh, Esq.
      U.S. Marshal
      U.S. Probation
